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                                    APPEAL NO. 23-4607

                                            In the
                 United States Court of Appeals
                                   For the Fourth Circuit


                        UNITED STATES OF AMERICA,
                                     Plaintiff - Appellee ,
                                               v.
                                  STEPHEN SIMMONS,
                                    Defendant - Appellant.



              BRIEF OF APPELLANT STEPHEN SIMMONS


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                                 STATEMENT OF JURISDICTION

                  On January 31, 2023, a federal grand jury sitting in Huntington, West

           Virginia, returned a single count indictment charging Simmons with possessing a

           “machinegun” that was not registered to him in the National Firearms Registration

           and Transfer Record, in violation of 26 U.S.C. §§ 5861(d) & 5871. JA012-013.

           Because that charge constituted an offense against the United States, the district

           court had original jurisdiction pursuant to 18 U.S.C. § 3231. This is an appeal from

           a final judgment and sentence imposed on September 12, 2023, JA103-110, after

           Simmons pled guilty to the indictment without a plea agreement. JA014-019.

           Simmons timely filed a notice of appeal on September 27, 2023. JA111. This Court

           has jurisdiction pursuant to 18 U.S.C. § 3742 and 28 U.S.C. § 1291.

                                          ISSUE PRESENTED

                  Whether Simmons’ sentence is procedurally unreasonable where the district

           court (1) enhanced his base offense level under U.S.S.G. § 2K2.1(a)(4)(B)(ii)(I) due

           to classifying Simmons as a prohibited person under 18 U.S.C. § 922(g)(3), and

           (2) based on that designation included non-NFA firearms as part of his relevant

           conduct to further enhance Simmons’ adjusted offense level when that statute and

           Guideline violate the Second Amendment, as analyzed under New York State Rifle

           & Pistol Association, Inc. v. Bruen, 142 S. Ct. 2111 (2022).




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                                    STATEMENT OF THE CASE

                  A.     A search warrant is executed at Simmons’ residence;
                         Simmons is charged with possession of an unregistered
                         machinegun.

                  On January 3, 2023, the ATF obtained a search warrant for Simmons’

           residence in Nitro, West Virginia. That same day officers established surveillance

           on Simmons’ home and detained him as he was observed walking out the front

           door. Agents from the ATF Charleston Field Office then executed the search

           warrant. During that search several firearms, suspected firearm silencers, suspected

           machineguns, and “evidence of drug use” were seized. One item seized was a

           conversion part commonly known as a “Glock Switch,” which when affixed would

           enable a Glock semi-automatic pistol to fire at the same rate as a machinegun with

           a single trigger pull. Based on that characteristic ATF treats Glock switches as falling

           within the definition of a “machinegun” in 26 U.S.C. § 5845(b), such that both the

           part and their owner are required to be registered in the National Firearms

           Registration and Transfer Record. The owner or possessor is further required to

           pay a Special Occupational Tax of $ 200 and obtain approval from the Treasury

           Secretary to lawfully possess the part. JA008-010.

                  On January 4, 2023, Simmons was charged by criminal complaint with

           unlawfully possessing a firearm (specifically the “Glock Switch”) that was not

           registered to him in the National Firearms Registration and Transfer Record on


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           January 3, 2023 (as required by 26 U.S.C. §§ 5841 & 5854), in violation of 26 U.S.C.

           § 5861(d). JA006-011. On January 31, 2023, a federal grand jury sitting in

           Huntington, West Virginia, returned a single count indictment charging Simmons

           with the same conduct and offense, in violation of 26 U.S.C. §§ 5861(d) & 5871.

           JA012-013.

                 B.     Simmons enters guilty plea, then raises Bruen -based
                        objections to the application of U.S.S.G. § 2K2.1 during
                        the PSR process.

                 On May 10, 2023, Simmons pled guilty to his indictment without a plea

           agreement. JA014-019. Simmons subsequently received his draft pre-sentence

           investigation report ( “PSR”). That report applied a base offense level (“BOL”) 12

           pursuant to U.S.S.G. § 2K2.1(a)(7) regarding his National Firearms Act (“NFA”)

           violation, then increased his adjusted offense level (“AOL”) by eight more levels

           based on the number of firearms involved (including non-NFA firearms) and the

           fact one of those non-NFA firearms was stolen. JA034.

                 On July 17, 2023, the United States objected to the PSR’s starting BOL of

           12. JA021-022; JA034-035. Specifically, the United States maintained that U.S.S.G.

           § 2K2.1(a)(4)(B) provided the correct starting BOL of 20 because the offense of

           conviction involved a NFA firearm and because Simmons was a prohibited person




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           during commission of that offense.1 Ibid. Prior to Simmons filing any responsive

           PSR objections, the presentence writer informally notified the parties that she was

           revising the PSR BOL to 20. JA035.

                  Among other things, Simmons formally objected to the PSR’s upward BOL

           adjustment due to his being a “prohibited person.” JA142-143. Pertinent here,

           Simmons objected to conduct that was protected by the Second Amendment under

           the text and history standard set forth in New York State Rifle & Pistol Association, Inc.

           v. Bruen, 142 S. Ct. 2111 (2022), being used (1) through 18 U.S.C. § 922(g)(3) and

           U.S.S.G. § 2K2.1(a)(4)(B)(ii)(I) to increase his starting BOL, and (2) to also include

           non-NFA firearms and a stolen non-NFA firearm in the total number of firearms

           involved in his “offense,” thereby further increasing his AOL to enhance the

           prospective punishment for his NFA conviction. 2




           1
             Simmons had not been charged with, had not been convicted of, and did not
           admit to being a prohibited person under 18 U.S.C. § 922(g)(3) when he entered his
           guilty plea.
           2
             Not all of the attributed 43 firearms were NFA “firearms,” and were otherwise
           capable of being lawfully possessed without being registered on the National
           Firearms Registration and Transfer Record. JA118-122. The Ruger AR-556 rifle
           used to support application of the two-offense level stolen firearm enhancement
           was one of those non-NFA firearms. JA121. Nevertheless, the draft PSR included
           all of Simmons’ non-NFA firearms seized on January 3, 2023 to determine his
           Sentencing Guideline range. JA124-125

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                 In support of his objections, Simmons argued that irrespective of whether

           his conduct of possessing unregistered NFA firearms was protected by the Second

           Amendment, his keeping and bearing non-NFA firearms in his home plainly was

           conduct protected by the Second Amendment, rendering § 922(g)(3) and

           § 2K2.1(a)(4)(B)(ii)(I) presumptively unconstitutional. Simmons further argued

           where both § 922(g)(3) and the Sentencing Guidelines were plainly Twentieth

           Century conventions, that the United States could not carry its burden under Bruen’s

           second prong of proving either was consistent with any well-established national

           historical tradition of firearm regulation. As a consequence, by further burdening

           Simmons’ protected non-NFA firearm conduct, § 922(g)(3) and § 2K2.1(b)(4) are

           unconstitutional under the Second Amendment and could not be used to further

           enhance Simmons’ base offense level or to include additional non-NFA firearms in

           determining his final Guideline range for sentencing.

                 Had Simmons’ PSR objections been sustained, worst case his starting BOL

           would have been 18 (previously Simmons incorrectly asserted it would have

           remained at 12), the six-level enhancement for the number of firearms would have

           only been a two-level enhancement (with two alleged “auto sears” and two Glock

           Switches, JA 118-120), and the stolen firearm enhancement would not have been

           applied (because the non-NFA-firearms would not have been included as any part

           of Simmons’ relevant conduct). This would have produced an advisory Guideline


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           range of 24 to 30 months imprisonment (TOL 17/Cat. I) before consideration of

           any variance arguments and application of the statutory sentencing factors in

           18 U.S.C. § 3553(a).

                  In light of the parties’ PSR objections, the probation officer requested a

           continuance of sentencing, which the district court granted. As part of that order,

           the Court directed the parties to further brief defendant’s Bruen-based PSR

           objections. JA020.

                  Simmons’ sentencing memorandum reiterated the substance of his PSR

           objections, applying Bruen to § 922(g)(3) and § 2K2.1. JA021-033. Simmons

           separately asserted that by not defining “unlawful user of controlled substances”

           § 2K2.1 and § 922(g)(3) are also unconstitutionally vague.

                  In response, the United States first asserted that the Second Amendment and

           Bruen are not applicable to the U.S. Sentencing Guidelines. JA036. The United

           States claimed even if they were, Simmons was not a “law abiding citizen” entitled

           to any Second Amendment protections under Bruen’s first step. JA037-038. Relying

           on Simmons’ January 3, 2023 statement, and conduct not subsequently considered

           by the district court at sentencing, the United States separately maintained that

           § 922(g)(3) and § 2K2.1(a)(4)(B)(ii)(I) were not unconstitutionally vague as applied

           to Simmons. JA038-040. The United States made absolutely no effort to establish

           that § 922(g)(3) and § 2K2.1(a)(4)(B)(ii)(I) were consistent with any well-established,


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           robust tradition of firearm regulation under Bruen. JA074. Instead, the United States

           concluded that Simmons was a prohibited person under § 922(g)(3) in possession

           of unregistered NFA weapons, such that a BOL of 20 should be applied under

           § 2K2.1(a)(4)(B)(ii)(I). The United States further concurred with the inclusion of

           non-NFA firearms as part of Simmons’ “offense” to support application of the

           number of firearm and stolen firearm enhancements in U.S.S.G. §§ 2K2.1(b)(1)(C)

           and (b)(4)(A), such that the appropriate total offense level after acceptance should

           have been 25. JA041.

                 C.     Defendant is sentenced as an “unlawful user” under
                        18 U.S.C. § 922(g)(3) and U.S.S.G. § 2K2.1.

                 Sentencing was conducted on September 12, 2023. The parties reasserted the

           positions stated in their written submissions, with Simmons noting that including

           the non-NFA firearms as relevant conduct “goes into treating my client as a

           prohibited person” rather than someone convicted of having unregistered NFA

           weapons. JA049. Addressing Simmons’ objections, the district court focused solely

           on the January 3, 2023 conduct in the PSR.3 Based largely on Simmons’ attributed



           3
             The PSR included disputed matters significantly predating Simmons’ January 3,
           2023 arrest and related search of his apartment, which the district court did not take
           into consideration in determining Simmons’ Guideline calculations. This appeal
           pertains solely to matters concerning the attributed January 3, 2023 conduct, and
           the district court’s treatment of his legal objections concerning them, which is why
           defendant’s statement of the case only addresses those circumstances and
           arguments.

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           statements in the PSR, that his wife had an affair which led him to start abusing

           drugs again, and that he had started using Adderall and methamphetamine for the

           past two to three months prior to his January 3, 2023 arrest, the Court overruled

           Simmons’ PSR objections and found that he was a “prohibited person” as defined

           by 18 U.S.C. § 922(g)(3). JA063-065.

                    “I do believe in this case that it is appropriate as determined in the

           Presentence Report to apply the [§ 2K2.1(b)(4)(B)(ii)(I)] enhancement here.”

           JA077-078. This was “not so much a matter of punishing status but, rather,

           conduct,” and the “enhancement is triggered because of the defendant’s illegal drug

           use.” JA078. The district court also found “the fact this is a sentencing enhancement

           does differentiate it from the context in which Bruen and Heller4 were decided” and

           that Simmons was “being punished for his violation of a federal gun law that he

           doesn’t challenge.” Ibid. Simmons’ argument that “the fact of his drug use and/or

           addiction shouldn’t be used by a judge to increase his sentence within the statutory

           range provided for this particular crime” was “wrong.” Ibid. Furthermore, “there

           has to be a connection between that conduct and the criminal activity” and it was

           not a “stretch at all to conclude that with respect to people who violate gun laws,

           there is increased culpability and greater risk to the public if that person is also




           4
               District of Columbia v. Heller, 554 U.S. 570 (2008).

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           engaged in illegal drug activity.” JA079. The district court concluded that “I think

           the guideline is appropriately applied, so I deny your objection” and “as the

           government argues that brings in the [non-NFA] firearms and results in a total

           number that meets the threshold for the six level increase that was applied as well.”

           Ibid. Including all the non-NFA firearms seized on January 3, 2023, also provided

           the factual support for the additional two-offense level enhancement based on the

           Ruger being stolen. Relative to those findings, the Court calculated Simmons’

           advisory Guidelines to include a term of incarceration for between 57 to 71 months.

           JA082-083.

                 With the district court having settled on its Guideline calculations, the

           Government argued for a sentence within the advisory Guideline range, citing

           deterrence, and explaining that “Glock switches . . . are turning up in violent crimes

           across the nation” and a “sentence within the calculated guideline range here sends

           a deterrent message.” JA083. Simmons argued for a sentence of no more than 36

           months in prison. JA085-088. He noted his history of employment and success in

           higher education, along with the fact that “there is no evidence or history of

           violence on his part at all.” Ibid. Simmons was “not a dangerous person,” but one

           who has “a very big interest in the mechanics and technology of firearms.” He did

           not use them threaten or hurt others in any way. JA086.




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                  The district court ultimately sentenced Simmons to 36 months in prison,

           followed by a three-year term of supervised release. JA096-097. The district court

           recognized that the advisory Guideline range was “driven first by the defendant’s

           circumstance of possessing many firearms” and doing so “at a time when he was a

           drug user or addict.” JA093-094. Regardless, Simmons’ criminal conduct involved

           the simple possession of unregistered NFA weapons and “it doesn’t seem to me

           that his conduct really goes beyond that.” JA094. As a result, “the guideline

           overstates the seriousness of his crime and the nature of his offense.” JA094-095.

                                    SUMMARY OF ARGUMENT

                  18 U.S.C. § 922(g)(3) and U.S.S.G. § 2K2.1(a)(4)(B)(ii)(1) are unconstitutional

           under the “text-and-history standard” of New York State Rifle & Pistol Association,

           Inc. v. Bruen, 142 S. Ct. 2111 (2022). Bruen instructs that “when the Second

           Amendment’s plain text covers an individual’s conduct, the Constitution

           presumptively protects that conduct,” and the Government may rebut the

           presumption of unconstitutionality only by showing that “the regulation is

           consistent with this Nation’s historical tradition of firearm regulation.” Id. at 2126.

           The district court erred by denying Simmons’ Bruen-based Second Amendment and

           vagueness objections to the calculation of his Sentencing Guidelines.

                  First, at the very least, the Second Amendment’s “plain text” expressly

           protects the conduct of keeping and bearing non-NFA “arms” in the home, even


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           by an “unlawful user” or drug addict. Specifically, the Second Amendment’s plain

           text entitles “the people” to the right to keep and bear arms, and nothing in that

           text or the Supreme Court’s cases suggests citizens potentially falling within

           § 922(g)(3) are not among “the people.” Excluding unlawful users and addicts from

           Second Amendment protection would violate the holding of District of Columbia v.

           Heller, 554 U.S. 570 (2008), that “the people” includes everyone who is “part of

           [the] national community;” that the right to bear arms “belongs to all Americans;”

           and that “the people” means the same thing in the Second Amendment as it does

           in the First, Fourth, and Ninth Amendments.

                 Second, the Government did not even try to rebut the presumption that

           § 922(g)(3), and thereby § 2K2.1(b)(4)(B)(ii)(I), are unconstitutional. To the extent

           the position is not deemed waived, the United States will still not be able to carry

           the burden of Bruen’s second step before this Court. The United States’ “historical

           tradition of firearm regulation” shows that drug user or addict-disarmament laws

           did not appear until the early 20th century, well after the period Bruen deems

           relevant. The Sentencing Reform Act, and U.S. Sentencing Guidelines, were then

           enacted roughly fifty years later. The Government cannot discharge its burden by

           likening § 922(g)(3) to laws that disarmed other supposedly “dangerous” or

           “unvirtuous” groups generally. Those categories are far too broad under a proper




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           Bruen analysis, and the Government has identified no “regulations” – i.e., legal

           proscriptions – that substantiate such a tradition, as Bruen requires.

                  Third, independent of the relevant Bruen analysis, 18 U.S.C. § 922(g)(3) and

           § U.S.S.G. 2K2.1(a)(4)(B)(ii)(I) are unconstitutionally vague.

                  The district court’s error led to the incorrect calculation of Simmons’

           advisory Guideline range, leading to the imposition of a procedurally unreasonable

           sentence that must now be vacated.

                                              ARGUMENT

                  A.     Standard of review

                  In an advisory Guideline system, “[t]he courts of appeals review sentencing

           decisions for unreasonableness.” United States v. Booker, 543 U.S. 220, 261 (2005).

           This Court has held that “[o]ur appellate review of the reasonableness of a sentence

           focuses on whether the sentencing court abused its discretion in imposing the

           chosen sentence.” United States v. Pauley, 511 F.3d 468, 473 (4th Cir. 2007). The first

           step in that review is for this Court to determine whether there have been any

           “significant procedural errors.” Ibid. District courts must “still calculate the correct

           guidelines range in order to fashion a reasonable sentence.” United States v. Hargrove,

           478 F.3d 195, 197 (4th Cir. 2007). Whether the district court’s application of

           U.S.S.G. § 2K2.1 violated the Second Amendment is a question of law. This Court

           reviews questions of law related to Guideline calculations de novo. United States v.


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           Shell, 789 F.3d 335, 338 (4th Cir. 2015); United States v. Allen, 909 F.3d 671, 677 (4th

           Cir. 2018).

                  B.     The Guidelines enhance a defendant’s sentence in firearm
                         cases based on the defendant’s status as a prohibited
                         person, even without the defendant being convicted of
                         such.

                  The applicable Guideline for most firearm offenses, whether they are based

           on the defendant’s particular status (as a felon, drug user, or domestic abuser) or

           the type of weapon involved (such as machineguns, silencers, and other weapons

           regulated by the National Firearms Act) is U.S.S.G. § 2K2.1. The Guideline sets

           both the base offense level for such offenses and sets forth numerous

           enhancements that apply in particular cases. In Simmons’ case, the question is

           whether both of those features are limited by the Second Amendment, as set forth

           in New York State Rifle & Pistol Association, Inc. v. Bruen, 142 S. Ct. 2111 (2022).

                  Section 2K2.1(a) sets forth numerous base offense levels that apply to

           different categories of offenders based on the offense of conviction, the

           defendant’s criminal history, and other factors, including characteristics of the

           weapon involved. Some base offense levels require a combination of these factors.

           As relevant to this case, § 2K2.1(a)(4)(B) provides for a base offense level of 20 if




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           the case involves both a “firearm that is described in 26 U.S.C. § 5845(a)” 5 and the

           defendant “was a prohibited person at the time the defendant committed the instant

           offense.” By contrast, a base offense level of 18 applies if a non-prohibited person

           possesses “a firearm described in 26 U.S.C. § 5835(a)” under § 2K2.1(a)(5).

           “Prohibited person” is defined as including “any person described in 18 U.S.C.

           § 922(g),” which would include someone who is “an unlawful user of or addicted

           to any controlled substance” under § 922(g)(3). U.S.S.G. § 2K2.1 cmt. n.3.

           Subsection (b)(1) separately provides for enhancements based on the number of

           firearms involved, including a four-level enhancement where 8 to 24 firearms are

           involved, and a six-level enhancement where between 25 and 99 firearms are

           involved. U.S.S.G. §§ 2K2.1(b)(1)(B) & (C). Subsection (b)(4) applies an additional

           two-level enhancement is any firearm was stolen. U.S.S.G. § 2K2.1(b)(4)(A).

                 The district court’s conclusion that Simmons was a prohibited person under

           § 922(g)(3) effectively enhanced his advisory Guideline range by eight offense levels.

           Without that designation, Simmons’ base offense level would have been 18, under

           § 2K2.1(a)(5), rather than 20 under § 2K2.1(a)(4)(B). Similarly, without that

           designation, the only firearms attributable to Simmons as relevant conduct would

           be those unregistered NFA weapons he possessed, resulting in a two-level, rather



           5
            There is no dispute that the unregistered NFA weapons Simmons possessed meet
           that definition.

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           than six-level, enhancement under § 2K2.1(b)(1), and no application of

           2K2.1(b)(4)(A) at all. The district court erred by classifying Simmons under

           § 922(g)(3), as that statute violates the Second Amendment. As a result, Simmons’

           sentence is procedurally unreasonable and should be vacated.

                  C.     18 U.S.C. § 922(g)(3), the statute which designates
                         Simmons as a prohibited person, violates the Second
                         Amendment.

                         1. Bruen did away with the means-end balancing
                            courts had done in the wake of Heller, requiring the
                            Government to prove that any firearm regulation is
                            consistent with this Nation’s history and traditions.

                  The Second Amendment was ratified December 15, 1791,6 and provides: A

           “well regulated Militia, being necessary to the security of a free State, the right of

           the people to keep and bear Arms, shall not be infringed.” U.S. Const. amend. II.

           Every existing federal firearm regulation was subsequently enacted during the

           Twentieth Century or later. 7 Citizen disarmament regulations of such recent vintage



           6
            See, e.g., U.S. Const. amend. II, historical note; Raffone v. Adams, 468 F.2d 860, 864
           n.4 (2d Cir. 1972); National Archives, Milestone Documents, Bill of Rights,
           https://www.archives.gov/milestone-documents/bill-of-rights.
           7
             See, e.g., Act of June 26, 1934, c. 757, Pub. L. No. 73-474, 48 Stat. 1236, codified
           at 26 U.S.C. §§ 5801-5872 (National Firearms Act); Act of June 30, 1938, c. 850, 52
           Stat. 1250, 1251, codified at 15 U.S.C. §§ 901-909 (Federal Firearms Act); Pub. L.
           No. 87-342, 75 Stat. 757 (October 4, 1961)(An Act to Strengthen the Federal
           Firearms Act - amended FFA to delete “citizens convicted of crimes of violence,”
           and replace them with “citizens having felony convictions”); Pub. L. No. 90-351,
           82 Stat. 236, effective June 19, 1968 (Gun Control Act of 1968 - Title VII, Omnibus

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           simply do not comport with the requirements of the Second Amendment after

           Bruen.




           Crime Control and Safe Streets Act of 1968, codified at 18 U.S.C. app. §§ 1201-
           1203 (now repealed) - categorically made it unlawful for felons, veterans with
           dishonorable discharges, mental incompetents, illegal aliens, and former citizens
           who had renounced their citizenship to possess firearms); Pub. L. No. 90-618, 82
           Stat. 1213-1236, effective October 22, 1968 (Title II, Omnibus Crime Control and
           Safe Streets Act of 1968; strengthened 1934 NFA. Added “destructive devices” to
           definition of firearm; expanded definition of “machinegun”); 82 Stat. 1227-1236,
           codified at 18 U.S.C. §§ 922(g) and (h)(Title IV, Omnibus Crime Control and Safe
           Streets Act of 1968; categorically prohibited persons under indictment, felons,
           fugitives from justice, users or addicts of drugs, and persons adjudicated mental
           defectives or committed to a mental institution from transporting or receiving
           firearms in interstate commerce; folded 1938 FFA, as amended, into the Gun
           Control Act as part of the OCCSSA of 1968); Pub. L. No. 99-308, 100 Stat. 449,
           effective May 19, 1986 (Firearm Owners’ Protection Act; reopened interstate sales
           of long guns, legalized ammunition shipments through the US Postal Service,
           removed record keeping requirements for non-armor piercing ammunition, banned
           sale of machine guns manufactured after enactment date to civilians, added
           possession of a firearm as an unlawful act under § 922(g)); Pub. L. No. 103-159,
           Title I, 107 Stat. 1536, effective November 30, 1993 (Brady Handgun Violence
           Prevention Act); Pub. L. No. 103-322, 108 Stat. 1796 (Violent Crime Control and
           Law Enforcement Act of 1994 – added Sec. 922(g)(8), persons under domestic
           violence restraining orders, to the GCA of 1968); Pub. L. No. 104-208, 110 Stat.
           3009, 3009-371 to 372 (1996)(Lautenberg Amendment to the Gun Control Act of
           1968; added Section 922(g)(9) prohibiting domestic violence misdemeanants from
           possessing firearms); Pub. L. No. 117-159, 136 Stat. 1313, June 25, 2022 (Bipartisan
           Safer Communities Act – added separate straw purchaser offenses to Title 18, as
           Sec. 933; increased all penalties under Sec. 922(g) to a maximum 15 years, Sec.
           12004, moved firearm possession penalties to Sec. 924(a)(8); expanded GCA Sec.
           922(g)(9) to include current or former dating relationships, Sec. 12005).

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                            a. Before Bruen , lower courts resolved Second
                               Amendment challenges by applying some
                               form of means-ends scrutiny.

                  Prior to District of Columbia v. Heller, 554 U.S. 570 (2008), challenges to federal

           firearm regulations were resolved through rational basis means-end scrutiny, subject

           to the now unconstitutional collectivist interpretation of the Second Amendment.

           See, e.g., Love v. Pepersack, 47 F.3d 120, 124 (4th Cir. 1995); United States v. Johnson,

           497 F.3d 548, 550 (4th Cir. 1974). After Heller most, if not all, of these same firearm

           regulations were again sustained, in the context of challenges to federal criminal

           statute, through intermediate means-end scrutiny subject to the individual rights

           interpretation of the Second Amendment. See, e.g., United States v. Hosford, 843 F.3d

           161 (4th Cir. 2016); United States v. Carter, 750 F.3d 462 (4th Cir. 2014); United States

           v. Pruess, 703 F.3d 242 (4th Cir. 2012); United States v. Mahin, 668 F.3d 119 (4th Cir.

           2012); United States v. Chester, 628 F.3d 673, 676 (4th Cir. 2010)(noting Heller’s

           explanation of how rational-basis scrutiny would be inappropriate for analyzing

           infringements on individual Second Amendment rights).

                  In Heller, the Supreme Court held the Second Amendment codified a pre-

           existing8 “individual right to possess and carry weapons in case of confrontation.”



           8
             See United States v. Cruikshank, 92 U.S. 542, 553 (1875)(The right of “bearing arms
           for a lawful purpose” is not a right granted by the Constitution. Neither is it in any
           manner dependent upon that instrument for its existence. The Second Amendment
           simply declares that it shall not be infringed).

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           Heller, 554 U.S. at 592, 624. The Court canvassed “the historical background of the

           Second Amendment,” including English history from the 1600s through American

           independence, law and practice in the colonial and early-Republic periods, and

           evidence of how the Second Amendment was interpreted in the century after its

           enactment (e.g., legal treatises, pre-Civil War case law, post-Civil War legislation,

           and late-19th-century commentary). Id. at 592-619. Based on this survey, the Court

           concluded the Second Amendment “confers an individual right to keep and bear

           arms” that is “not limited to the carrying of arms in a militia.” Id. at 586, 622. The

           Court therefore struck down District of Columbia statutes that prohibited the

           possession of handguns in the home and required that any other guns in the home

           be kept inoperable. Id. at 628-34.

                  Two years later, in McDonald v. City of Chicago, 561 U.S. 742 (2010), the Court

           extended the individual right recognized by Heller to the states through the

           Fourteenth Amendment Due Process Clause. In so incorporating Second

           Amendment protections, the Court described the right to keep and bear arms as

           “fundamental to our scheme of ordered liberty” and “deeply rooted in this Nation’s

           history and tradition.” Id. at 767. This right, the Court warned, should not be treated

           “as a second-class right, subject to an entirely different body of rules than the other

           Bill of Rights guarantees.” Id. at 780.




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                  In United States v. Chester, 628 F.3d 673, 680 (4th Cir. 2010), this Court

           developed a “two-part approach” for resolving post-Heller Second Amendment

           claims. The first step asked “whether the challenged law imposes a burden on

           conduct falling within the scope of the Second Amendment’s guarantee,” as it was

           understood “at the time of ratification.” Ibid. If it did not, the challenge failed. But

           if the statute did “burden[] conduct that was within the scope of the Second

           Amendment as historically understood,” the Court then “appl[ied] an appropriate

           form of means-end scrutiny.” Ibid. At the United States’ urging, within this

           framework this Court opted to define “conduct” not just by what a given citizen

           was doing with a firearm, but also by who they were. Through this non-textual

           categorial add-on, the Court divided Second Amendment protections into two

           categories – those that applied to “law-abiding” citizens, and those that applied to

           persons who were not “law-abiding” citizens. “Law-abiding citizens” is not found

           in the Second Amendment’s plain text, and no court has ever managed to define

           the term. This Court nevertheless employed strict scrutiny if a challenger’s claim

           implicated “the core right” recognized in Heller – “the right of law-abiding,

           responsible citizens to use arms in defense of hearth and home.” United States v.

           Chapman, 666 F.3d 220, 224, 226 (4th Cir. 2012). Otherwise, intermediate scrutiny

           applied. Id. at 225-226. Both forms of scrutiny involved weighing the governmental

           interest in firearm restrictions against the challenger’s interest in keeping and


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           bearing arms. See United States v. Hosford, 843 F.3d 161, 168 (4th Cir. 2016). What

           differed between them were the magnitude of the governmental interest at issue,

           and the closeness of the fit. Using intermediate scrutiny, where there was a

           “reasonable fit” between the regulation and governmental interest - this Court

           deferred to Congress and sustained the regulation. More often than not, as opposed

           to finding that a given category of undefined “non-law-abiding citizens” enjoyed

           some limited Second Amendment protections, this Court would “assume without

           finding” that they did and sustain the challenged firearm regulation using

           intermediate scrutiny. See, e.g., United States v. Carter, 750 F.3d 462, 464 (4th Cir 2014).

           By 2014, intermediate scrutiny had become the accepted standard of review for

           Second Amendment challenges to federal criminal firearm laws.

                             b. Bruen replaced means-ends balancing with a
                                test rooted solely in the Second Amendment’s
                                “text and history.”

                  Fourteen years after Heller, the Supreme Court in New York State Rifle & Pistol

           Association, Inc. v. Bruen, 142 S. Ct. 2111 (2022), disavowed this Court’s intermediate

           scrutiny framework in holding that “Heller and McDonald do not support applying

           means-end scrutiny in the Second Amendment context.” Id. at 2127. In its place,

           the Supreme Court adopted a “text-and-history” standard more consistent with

           Heller’s methodology. Id. at 2138. This standard directs courts to begin by asking

           whether “the Second Amendment’s plain text covers an individual’s conduct.” Id.


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           at 2126. If it does, then “the Constitution presumptively protects that conduct.”

           Ibid. Answering this preliminary question in Bruen was straightforward. At issue was

           a New York law providing that to obtain a permit to carry a concealed handgun in

           public, an applicant had to demonstrate “proper cause,” i.e., “a special need for self-

           protection distinguishable from that of the general community.” Id. at 2122-23. The

           Supreme Court “ha[d] little difficulty concluding” that “the Second Amendment

           protect[ed] [the petitioners’] proposed course of conduct – carrying handguns

           publicly for self-defense.” Id. at 2134. As the Court explained, “[n]othing in the

           Second Amendment’s text draws a home/public distinction with respect to the

           right to keep and bear arms.” Ibid. The Second Amendment therefore

           “presumptively guarantee[d]” a right to carry firearms in public, and New York’s

           “proper cause” requirement, which infringed that right, could pass constitutional

           muster only if the state overcame the presumption. Id. at 2129-30, 2135.

                  To rebut the presumption of unconstitutionality, Bruen held, “the

           government may not simply posit that [a] regulation promotes an important

           interest.” Bruen, 142 S. Ct. at 2126. “Rather, the government must demonstrate that

           the regulation is consistent with this Nation’s historical tradition of firearm

           regulation. Only if a firearm regulation is consistent with this Nation’s historical

           tradition may a court conclude that the individual’s conduct falls outside the Second

           Amendment’s unqualified command.” Ibid. This test requires courts to “consider


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           whether ‘historical precedent’ . . . evinces a comparable tradition of regulation.” Id.

           at 2131-32. If “no such tradition” exists, then the statute being challenged is

           unconstitutional. Id. at 2132. The Court explained that “[c]onstitutional rights are

           enshrined with the scope they were understood to have when the people adopted

           them.” Id. at 2136 (emphasis in original). For that reason, the relevant “historical

           tradition” for purposes of a federal gun regulation is that which existed in 1791,

           when the Second Amendment was ratified. Id. at 2136. Courts may look to the

           tradition of firearms regulation “before . . . and even after the founding” period,

           but they should do so with care. Id. at 2131-32. Bruen cautioned, for example, that

           “[h]istorical evidence that long predates [1791] may not illuminate the scope of the

           [Second Amendment] right if linguistic or legal conventions changed in the

           intervening years.” Id. at 2136. Courts should not “rely on an ancient practice that

           had become obsolete in England at the time of the adoption of the Constitution

           and never was acted upon or accepted in the colonies.” Ibid.

                  Conversely, courts must “guard against giving postenactment history more

           weight than it can rightly bear.” Bruen, 142 S. Ct. at 2136. Evidence “of how the

           Second Amendment was interpreted from immediately after its ratification through

           the end of the 19th century represent[s] a critical tool of constitutional

           interpretation.” Ibid. But the farther forward in time one goes from 1791, the less

           probative historical evidence becomes. Id. at 2137 (“As we recognized in Heller


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           itself, because post-Civil War discussions of the right to keep and bear arms took

           place 75 years after the ratification of the Second Amendment, they do not provide

           as much insight into its original meaning as earlier sources.”). Evidence from “the

           mid- to late-19th-century” provides little “insight into the meaning of the

           Constitution in [1791].” Ibid. Courts should therefore credit such history to the

           extent it provides “confirmation” of prior practice but should otherwise afford it

           little weight. Ibid. That is because “post-ratification adoption or acceptance of laws

           that are inconsistent with the original meaning of the constitutional text obviously

           cannot overcome or alter that text.” Ibid.; see also id. at 2154 n.28 (ignoring “20th-

           century historical evidence” because it is too far removed from 1791).

                 In Bruen the Supreme Court held that because New York could not point to

           a robust tradition of regulations similar to the proper-cause requirement, the state’s

           statute violated the Second Amendment. Bruen, 142 S. Ct. at 2138-56. In reaching

           its conclusion, the Court did not elaborate a comprehensive scheme for evaluating

           historical evidence, but rather staked certain guideposts for lower courts to follow.

                               i.    Statutes    addressing     longstanding
                                     societal problems are subject to more
                                     rigorous scrutiny than firearm statutes
                                     addressing historically “unprecedented”
                                     challenges.

                 With respect to Bruen’s second prong, the Supreme Court explained that the

           standard for reviewing historical evidence differs depending on what kind of


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           problem a statute is intended to remedy – specifically, whether that problem is old

           or new. In “some cases,” where a challenged statute “addresses a general societal

           problem that has persisted since the 18th century,” the historical “inquiry will be

           fairly straightforward.” Bruen, 142 S. Ct. at 2131. The Government can defend such

           statutes only by identifying a tradition of “distinctly similar” regulations from the

           founding era. Ibid. If “the Founders themselves could have adopted” a particular

           regulation to “confront” a problem that existed in 1791, but did not do so, then

           that regulation is unconstitutional today. Ibid.

                  In “other cases,” a challenged statute will “implicat[e] unprecedented societal

           concerns or dramatic technological changes,” or will be addressed to “challenges”

           that are “not . . . the same as those that preoccupied the Founders in 1791.” Bruen,

           142 S. Ct. at 2132. Historical inquiry into these statutes “may require a more

           nuanced approach,” which “will often involve reasoning by analogy.” Ibid. Deciding

           “whether a historical regulation is a proper analogue for a distinctly modern firearm

           regulation requires a determination of whether the two regulations are relevantly

           similar.” Ibid. Bruen declined to “provide an exhaustive survey of the features that

           render regulations relevantly similar under the Second Amendment,” but it

           identified “at least two metrics: how and why the regulations burden a law-abiding

           citizen’s right to armed self-defense.” Id. at 2132-33. In other words, “whether

           modern and historical regulations impose a comparable burden on the right of


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           armed self-defense [i.e., the ‘how’] and whether that burden is comparably justified

           [i.e., the ‘why’] are central considerations when engaging in an analogical inquiry.”

           Id. at 2133 (emphasis omitted).

                  This latter approach to Bruen’s historical inquiry – which the Supreme Court

           called “analogical reasoning,” Bruen, 142 S. Ct. at 2132 – is less difficult for the

           Government to satisfy. Courts, however, may only employ that approach when the

           challenged statute is geared toward a societal problem that was “unimaginable at

           the founding.” Ibid. It is not available when the challenged statute “addresses a

           general societal problem that has persisted since the 18th century.” Id. at 2131.

                  While the Supreme Court referred to the more deferential relevantly similar

           inquiry as using “analogical reasoning,” both historical approaches arguably utilize

           analogies. That they both function the same way varying in the degree of fit,

           however, does not make them interchangeable. Bruen does not say the means most

           likely to sustain the firearm regulation dictates the method of historical inquiry.

           Bruen’s historical second prong is not linear or multi-tiered. If a distinctly similar

           historical analogue does not exist regarding a societal problem which existed at the

           Founding, the challenged regulation is unconstitutional. That is the end of the

           inquiry. The Government is not permitted a less demanding “do-over” to explore

           whether there might be an alternately “relevantly similar” historical analogue. The

           distinctly similar and relevantly similar inquiries operate as alternatives: one applies


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           to statutes aimed at old problems, the other applies to statutes aimed at new

           problems. The relevantly similar inquiry is not a supplemental approach the Court

           may turn to if the distinctly similar analysis does not work out. Bruen, 142 S. Ct. at

           2131-2134. If it were, then there was no reason for the Bruen majority opinion to

           have even mentioned the “distinctly similar” approach at all.

                 With this structural distinction in mind, courts faced with a Bruen challenge

           must identify the problem at which a statute is aimed, and then determine whether

           that problem existed in 1791 or instead grows out of “unprecedented,”

           “unimaginable” societal changes. Bruen, 142 S. Ct. at 2132.

                               ii.   The Government must identify a “well-
                                     established and representative” tradition
                                     of comparable regulations.

                 Whether sifting through “distinctly similar” precursors or merely “relevantly

           similar” historical analogues, the “comparable tradition of regulation” must be

           robust. To carry its burden, the Government must show that the historical tradition

           on which it relies is “well-established and representative .” Bruen, 142 S. Ct. at

           2133 (emphasis added); see also id. at 2137 (explaining that “a governmental practice”

           can “guide [courts’] interpretation of an ambiguous constitutional provision” if that

           practice “has been open, widespread, and unchallenged since the early days of the

           Republic”). Importantly, a handful of “outlier[]” statutes or cases from a few

           “outlier jurisdictions” do not make out a historical tradition. Id. at 2153, 2156. The


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           Supreme Court expressed “doubt,” for instance, that statutes from only three of

           the original thirteen colonies would establish a relevant tradition. Id. at 2142. And

           in evaluating 19th-century “surety laws,” which New York argued were precursors

           to its proper-cause requirement, the Court discounted two of those ten laws – which

           were most similar to New York’s – as unrepresentative. Id. at 2148 n.24. Here, the

           relevant date for the historical analysis is December 15, 1791, when the Second

           Amendment was ratified. At that time the United States as a nation consisted of the

           following states:




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                               iii. The Government bears the burden of
                                    demonstrating that a firearm regulation
                                    is consistent with the Nation’s historical
                                    tradition.

                  Finally, Bruen emphasized that “the burden falls on [the Government] to

           show that [a statute] is consistent with this Nation’s historical tradition of firearm

           regulation.” Bruen, 142 S. Ct. at 2135. Consistent with “the principle of party

           presentation,” courts are “entitled to decide a case based on the historical record

           compiled by the parties.” Id. at 2130 n.6. As a consequence, courts “are not obliged

           to sift the historical materials for evidence to sustain [a] statute. That is [the

           Government’s] burden.” Id. at 2150. And insofar as there are “multiple plausible

           interpretations” of an ambiguous historical record, courts must “favor the one that

           is more consistent with the Second Amendment’s command.” Id. at 2141 n.11. The

           tie goes to the Second Amendment claimant. See also id. at 2139 (concluding that

           where “history [is] ambiguous at best,” it “is not sufficiently probative to defend [a

           statute]”).

                            c. Section 922(g)(3) fails Bruen ’s “text-and-
                               history” Second Amendment standard and
                               has been unconstitutionally applied to
                               Simmons.

                  By dispensing with means-ends scrutiny, Bruen refined Heller to the point that

           all modern federal firearm regulations are now subject to reexamination under the




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           Second Amendment, using Bruen’s plain text and history standard. Applying that

           standard, the district court should have sustained Simmons’ PSR objections.

                  Under Bruen’s framework, § 922(g)(3) violates Simmons’ Second

           Amendment right to keep and bear arms. The amendment’s “plain text” protects

           the conduct of keeping and bearing arms. It does not differentiate between who

           can or cannot keep and bear arms, including between drug users or non-drug users,

           and a total prohibition on firearm possession by drug users and/or addicts

           presumptively violates the Second Amendment. The Government cannot rebut

           that presumption. Drug users’ and addicts’ access to firearms is “a general societal

           problem that has persisted since the 18th century,” and so the Government must

           show a robust tradition of regulations (i.e. enacted laws) “distinctly similar” to

           § 922(g)(3). Bruen, 142 S. Ct. at 2131. Drug user/addict-disarmament statutes,

           however, did not appear until the 20th century; the “Founders themselves could

           have adopted” drug user/addict-disarmament laws, but did not do so. Ibid. Because

           there was no “historical tradition,” as of 1791, of regulations “distinctly similar” to

           § 922(g)(3), that statute violates the Second Amendment. Ibid.

                                i.   The Second Amendment’s “plain text”
                                     protects Simmons’ possession of non-
                                     NFA firearms.

                 Bruen directs courts to begin by asking whether “the Second Amendment’s

           plain text covers an individual’s conduct.” Bruen, 142 S. Ct. at 2126 (emphasis


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           added). The answer to that question is easy in Simmons’ case. The Second

           Amendment’s operative clause contains three textual elements: it protects the right

           of (1) “the people” to (2) “keep and bear” (3) “Arms.” Simmons satisfied all three

           elements with respect to his possession of the unregistered non-NFA firearms

           seized from his home on January 3, 2023, and used to later enhance his Guideline

           calculations.

                  The PSR detailed Simmons’ possession, or keeping, mostly non-NFA

           firearms in his home. JA118-121. “Arms” under the Second Amendment include

           all firearms that are not dangerous and unusual, and which are in common use.

           Heller, 554 U.S. at 581. This would include the non-NFA AR-style firearms and

           components seized from Simmons’ home on January 3, 2023. See, e.g., Miller v. Bonta,

           2023 WL 6929336 (S.D. Cal. 2023). Heller further defines “keep” as “to retain; not

           to lose,” “to have in custody,” and “to hold; to retain in one’s power or

           possession”—in short, to “have weapons.” Heller, 554 U.S. at 582.

                  Contrary to the Government’s assertions below, even with his NFA violative

           conduct and related conviction, Simmons is still part of “the people” protected by

           the Second Amendment. Just as that amendment does not “draw[] a home/public

           distinction with respect to the right to keep and bear arms,” Bruen, 142 S. Ct. at

           2134, it does not draw a drug user/addict versus non-drug user distinction.




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           “Nothing in the Second Amendment’s text” suggests those who have been drug

           users or addicts are unentitled to the amendment’s protection. Ibid.

                 Heller confirms this conclusion. Construing the words “the people,” the

           Supreme Court said “the term unambiguously refers to all members of the political

           community, not an unspecified subset.” Heller, 554 U.S. at 580. It interpreted “the

           people” to refer to all “persons who are part of a national community or who have

           otherwise developed sufficient connection with this country to be considered part

           of that community.” Ibid. Thus the Second Amendment right “is exercised

           individually and belongs to all Americans.” Id. at 581. Interpreting “the people” to

           exclude drug users and/or addicts would contradict Heller’s Second Amendment

           application to “all Americans.” In addition, Heller explained that “the people” is a

           “term of art” that bears a uniform meaning across the First, Second, Fourth, and

           Ninth Amendments. Heller, 554 U.S. at 580. The result is that, if drug use or

           addiction deprives someone of his Second Amendment right to bear arms, it would

           also deprive him of his First Amendment rights to speak about matters of public

           concern and worship according to his faith, and his Fourth Amendment right to be

           free from warrantless searches of his home. To counsel’s knowledge, no court that

           has ever endorsed that proposition. See, e.g., United States v. Perez-Gallan, 640

           F. Supp. 3d 697, 708 (W.D. Tex. 2022)(striking down 18 U.S.C. § 922(g)(8), which

           bars firearm possession by people subject to intimate-partner restraining orders,


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           and explaining that because such people “may invoke the protections of [the First

           and Fourth Amendments],” they may also invoke the protections of the Second);

           United States v. Meza-Rodriguez, 798 F.3d 664, 670-71 (7th Cir. 2015) (concluding “the

           term ‘the people’ in the Second Amendment has the same meaning as it carries in

           other parts of the Bill of Rights” and therefore should be interpreted “as consistent

           with the other amendments passed as part of the Bill of Rights,” such as the First

           and Fourth Amendments). Notwithstanding this straightforward interpretation of

           the Second Amendment’s “plain text,” the Government argued below that “the

           people” comprises only law-abiding people. JA066-068. This argument derives

           from language in Heller related to determining the proper standard of review for

           Second Amendment claims. In rejecting the “interest-balancing inquiry” proposed

           in Justice Breyer’s dissent, the Heller majority explained that the Second

           Amendment “is the very product of an interest balancing by the people.” Heller, 554

           U.S. at 634-35. Judges therefore lack authority to “conduct [that balancing] anew”

           or “decide on a case-by-case basis whether the right is really worth insisting upon.”

           Ibid. And regardless, the Court wrote, “whatever else [the Second Amendment]

           leaves to future evaluation, it surely elevates above all other interests the right of

           law-abiding, responsible citizens to use arms in defense of hearth and home.” Id. at

           635. This latter sentence, the Government’s argument goes, limits the right to keep

           and bear arms to “law-abiding, responsible citizens.”


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                  This argument definitely misreads Heller. By beginning the quoted passage

           with “whatever else it leaves to future evaluation,” the Supreme Court in Heller

           made clear that its reference to “law-abiding, responsible citizens” established a

           Second Amendment floor, not a ceiling. The Court held that law-abiding,

           responsible citizens have a right to possess firearms, but it did not address, much

           less rule out, whether other people have that right too. Rather, Heller expressly left

           that question “to future evaluation.” Heller, 554 U.S. at 635. Heller’s “law-abiding”

           statement was not meant to amend, sub silentio, its holding that “the people” are all

           members of the national community, and “not an unspecified subset.” Id. at 580.

                  Heller “conclusively established [that] the Second Amendment applies to law-

           abiding and peaceable citizens at the very least.” Stimmel v. Sessions, 879 F.3d 198,

           204-05 (6th Cir. 2018)(emphasis added). Heller’s “law-abiding” language does not

           “demarcate [the Second Amendment’s] outer limit” or “exclude[]” anyone from the

           amendment’s coverage, it merely establishes that certain people do fall within the

           amendment’s reach. Ibid.; see also Perez-Gallan, 640 F. Supp. 3d at 708 (explaining

           Heller “defined ‘the people’ as ‘members of the political community,’ not ‘law-

           abiding, responsible citizens’”). Heller’s qualifying language is clear, but to the extent

           it was ambiguous, Bruen resolved any ambiguity. The passage cited above references

           law-abiding, responsible citizens’ right to use arms “in defense of hearth and

           home.” If that passage were meant to mark off the outer edges of the Second


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           Amendment right, then even law-abiding, responsible citizens would have no right

           to use firearms outside the home. But Bruen held the Second Amendment right does

           extend outside the home, and the Court in Bruen gave no hint it believed it was

           contradicting Heller in that regard. Thus Bruen confirms that it would be a mistake

           to read Heller’s “law-abiding, responsible citizens” language as a limitation on the

           Second Amendment.

                  In the district court, the Government argued Bruen supports its view that

           Second Amendment rights are “limited” to law-abiding citizens. JA066-068. It is

           true that at several points, Bruen uses the term “law-abiding.” See, e.g., Bruen, 142

           S. Ct. at 2156 (“New York’s proper-cause requirement violates the [Second]

           Amendment in that it prevents law-abiding citizens with ordinary self-defense needs

           from exercising their right to keep and bear arms.”). But Bruen repeated the “law-

           abiding” appellation because the petitioners in that case alleged, “[a]s set forth in

           the pleadings below,” that they were “law-abiding, adult citizens,” and the Court

           granted certiorari to decide only whether “New York’s denial of petitioners’ license

           applications violated the Constitution.” Id. at 2124-25. No other questions were

           before the Court in Bruen, and at no point did the Court say Second Amendment

           rights are limited to law-abiding citizens.

                  Bruen reaffirmed Heller’s holding that the Second Amendment right belongs

           to “‘all Americans.’” Bruen, 142 S. Ct. at 2156, quoting Heller, 554 U.S. at 581. That


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           statement cannot be reconciled with the Government’s view that Bruen (implicitly)

           limits the arms right to only law-abiding citizens. Bruen also repeated Heller’s

           instruction that courts should give “the Second Amendment’s language” its

           “‘normal and ordinary’ meaning.” Id. at 2127, quoting Heller, 554 U.S. at 576. There

           is nothing normal or ordinary about reading “the people” to mean only “law-

           abiding people.” Bruen held “that ordinary, law-abiding citizens have [the] right to

           carry handguns publicly for their self-defense.” Id. at 2122. If the word “law-

           abiding” in that sentence limits the Second Amendment’s scope, then the word

           “ordinary” must do so, too. But surely the Government does not believe unordinary

           citizens lack Second Amendment rights. It cannot be that the Supreme Court meant

           to exclude anyone deemed abnormal – a term with no discernible meaning – from

           exercising a fundamental, enumerated constitutional right. Limiting the Second

           Amendment by negative implication is equally unjustified regarding “law-abiding.”

                  The Third Circuit addressed the lack of impact of Bruen’s “law abiding”

           language on 18 U.S.C. § 922(g)(1) in Range v. Attorney General United States of America,

           69 F.4th 96, 101-103 (3d Cir. 2023). The court concluded that because the criminal

           histories of the plaintiffs in Heller, McDonald, and Bruen were not at issue in those

           cases, references to “law-abiding, responsible citizens” were dicta. Id. at 101. The

           court noted that “the phrase ‘law-abiding, responsible citizens’ is as expansive as it

           is vague” and that “the Government’s claim that only ‘law-abiding, responsible


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           citizens’ are protected by the Second Amendment devolves authority to legislators

           to decide whom to exclude from ‘the people.’” Id. at 102. The court “reject[ed] that

           approach because such ‘extreme deference gives legislatures unreviewable power to

           manipulate the Second Amendment by choosing a label.’” Id. at 102-103 “In sum,”

           the court concluded, “we reject the Government’s contention that only ‘law

           abiding, responsible citizens’ are counted among ‘the people’ protected by the

           Second Amendment.” Id. at 103. Therefore, § 922(g)(3) regulates and burdens

           protected Second Amendment conduct.

                  Simmons, who is an American citizen, is part of the United States’ “national

           community.” Heller, 554 U.S. at 580. He remained part of the “national

           community,” despite any purported regular drug use or his NFA conviction.

           Simmons is therefore among “the people” protected by the Second Amendment,

           his non-NFA firearm conduct is protected by the Second Amendment’s text, and

           18 U.S.C. § 922(g)(3) and U.S.S.G. § 2K2.1(a)(4)(B)(ii)(I) are both presumptively

           unconstitutional under Bruen’s first step. Bruen, 142 S. Ct. at 2126.

                  Other courts have held the same with respect to 18 U.S.C. § 922(g)(3). See,

           e.g., United States v. Daniels, 77 F.4th 337, 342-343 (5th Cir. 2023); United States v.

           Okello, 2023 WL 5515828, at *3 (D.S.D. 2023); United States v. Espinoza-Melgar, 2023

           WL 5279654, at *3 (D. Utah 2023); United States v. Wuchter, 2023 WL 4999862, at *2

           (N.D. Iowa 2023); United States v. Springer, 2023 WL 4981583, at *2 (N.D. Iowa


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           2023); United States v. Alston, 2023 WL 4758734, at *6 (E.D.N.C. 2023); United States

           v. Lewis, 2023 WL 4604563 (S.D. Ala. 2023); United States v. Connelly, 2023 WL

           2806324 (W. D. Tex. 2023); United States v. Harrison, 2023 WL 1771138 at *8-9

           (W.D. Okla. 2023); United States v. Lewis, 2023 WL 187582, at *2 (W.D. Okla. 2023).

                  As they have with respect to 18 U.S.C. § 922(g)(1). See, e.g., United States v.

           Prince, 2023 WL 7220127, at *4-5 (N.D. Ill. dec. Nov. 2, 2023); United States v. Jackson,

           2023 WL 7160921, at *5-6 (N.D. Ill. 2023); United States v. Ford, 2023 WL 7131742

           (S.D.N.Y. 2023); United States v. Brooks, 2023 WL 6880419 (E.D. Ky. 2023); United

           States v. Coleman, 2023 WL 6690935, at *5-6 (E.D. Va. 2023); United States v. Johnson,

           2023 WL 6690388, at *3 (N.D. Ill. 2023); United States v. Levasseur, 2023 WL

           6623165, at *2-3 (D. Me. 2023); United States v. White, 2023 WL 6066201, at *4

           (S.D.N.Y. 2023); United States v. Johnson, 2023 WL 6049529, at *4-5 (W.D. Okla.

           2023); United States v. Gates, 2023 WL 5748362 (N.D. Ill. 2023); United States v. Lane,

           2023 WL 5614798, at *2 (D. Vt. 2023); United States v. Nordvold, 2023 WL 5596623,

           at *4 (D.S.D. 2023); United States v. Quailes, 2023 WL 5401733 (M.D. Pa. 2023);

           United States v. Davila, 2023 WL 5361799, at *2 (S.D.N.Y. 2023); United States v.

           Holmes, 2023 WL 4494340 (E.D. Mich. 2023); United States v. Bullock, 2023 WL

           4232309, at *20, *29 (S.D. Miss. 2023); United States v. Hernandez, 2023 WL 4161203,

           at *3-4 (N.D. Tex. 2023); United States v. Ware, 2023 WL 3568606, at *5 (S.D. Ill.

           2023); United States v. Lowry, 2023 WL 3587309, at *3 (D.S.D. 2023); United States v.


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           Martin, 2023 WL 1767161, at *2 (D. Vt. 2023); United States v. Barber, 2023 WL

           1073667, at *5-6 (E.D. Tex. 2023); United States v. Hester, No. 1:22-cr-20333-RNS,

           ECF No. 39 (S.D. Fla. Jan. 27, 2023); Campiti v. Garland, 649 F. Supp. 3d 1 (D.

           Conn. 2023); United States v. Goins, No. 647 F. Supp. 3d 538 (E.D. Ky. 2022); United

           States v. Pierre, No. 1:22-cr-20321-JEM, ECF No. 53 (S.D. Fla. Nov. 28, 2022); United

           States v. Williams, 2022 WL 18285005 (N.D. Ga. 2022); United States v. Price, 635

           F. Supp. 3d 455, 460 (S.D. W. Va. 2022).

                 And with respect to 18 U.S.C. §§ 922(g)(8) & (9). See, e.g., United States v. Lewis,

           2023 WL 6066260, at *4 (S.D.N.Y. 2023); United States v. Springer, 2023 WL 4981583,

           at *2 (N.D. Iowa 2023); United States v. Brown, 2023 WL 4826846, at *5-6 (D. Utah

           2023); United States v. Guthery, 2023 WL 2696824 (E.D. Cal. 2023); United States v.

           Silvers, 2023 WL 3232605 (W.D. Ky. 2023); United States v. Combs, 2023 WL 1466614,

           at *3 (E.D. Ky. 2023); United States v. Ryno, 2023 WL 3736420, at *12-14 (D. Alaska

           2023); United States v. Bernard, 2022 WL 17416681, at *7 (N.D. Iowa 2022); United

           States v. Jackson, 2022 WL 3582504, at *2 (W.D. Okla. 2022).

                 And, finally, with respect to 18 U.S.C. § 922(n). See, e.g., United States v. Gore,

           2023 WL 2141032, at *2 (S.D. Ohio 2023); United States v. Rowson, 2023 WL 431037,

           at *15-19 (S.D.N.Y. 2023); United States v. Hicks, 2023 WL 164170 (W.D. Tex. 2023);

           United States v. Reaves, No. 4:22-cr-224-HEA, ECF No. 55 at 16 (E.D. Mo. Jan. 9,




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           2023); United States v. Stambaugh, 641 F. Supp. 3d 1185, 1189-1190 (W.D. Okla.

           2022); United States v. Kays, 624 F. Supp. 3d 1262 (W.D. Okla. 2022).

                 A growing number of courts recognize that the inquiry under Bruen’s first

           step is a narrow one. They have held that citizens charged with a crime, even a crime

           based on prior criminal conduct, easily fall within the ambit of the Second

           Amendment. Simmons’ non-NFA conduct in this case, simple possession of non-

           NFA firearms in his home, falls within the scope of the Second Amendment.

                        2. The Government failed to show that § 922(g)(3) is
                           consistent with the United States’ “historical
                           tradition of firearm regulation.”

                 To rebut Bruen’s presumption of unconstitutionality, the Government had to

           establish that § 922(g)(3) “is consistent with this Nation’s historical tradition of

           firearm regulation.” Bruen, 142 S. Ct. at 2126. The Government did not even try to

           do this before the district court, and effectively waived the issue. Even if deemed

           not to be prevented from arguing otherwise, however, the United States still cannot

           carry its burden before this Court.

                            a. There is no tradition of statutes “distinctly
                               similar” to § 922(g)(3).

                 The threshold question in Bruen’s historical inquiry is whether the problem

           addressed by § 922(g)(3) is longstanding or of more recent provenance. The answer

           is clear: the “general societal problem” at which § 922(g)(3) is directed – i.e., drug



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           users/addicts – essentially impaired citizens’ access to guns – “has persisted since

           the 18th century.” Bruen, 142 S. Ct. at 2131. See United States v. Harrison, ___

           F. Supp. 3d ___, 2023 WL 1771138, *6 (W.D. Okla. 2023). As a result, § 922(g)(3)

           is unconstitutional unless the Government shows a robust tradition of “distinctly

           similar” regulations as of 1791, when the Second Amendment was ratified. Ibid. The

           Government cannot defend § 922(g)(3) through “analogical reasoning” and the

           “relevantly similar” test, which are reserved for statutes aimed at “unprecedented”

           problems that would have been “unimaginable” at the founding. Id. at 2132. The

           potential danger posed by drug users’/addicts’ access to firearms would not have

           been foreign to the Founders. Again, the Government did not even attempt to carry

           its burden in district court. Yet Simmons’ PSR objections and related sentencing

           memorandum explained that Bruen established dual-track review of historical

           evidence: a “distinctly similar” test for statutes aimed at longstanding problems, and

           a “relevantly similar” test for statutes directed to “unprecedented” problems.

           JA028-029. Defendant’s memorandum further explained that, because drug

           users’/addicts’ access to firearms “has persisted since the 18th century,” Bruen, 142

           S. Ct. at 2131, the Government had to satisfy the “distinctly similar” standard, not

           the “relevantly similar” standard. JA031. In its response, the Government did not

           dispute that the standard for reviewing historical evidence varies depending on

           whether a statute addresses an old or a new problem. Nor did it deny that drug


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           users’/addicts’ access to firearms has been a (potential) problem since at least 1791.

           JA034-43. Instead, the Government simply ignored the “distinctly similar”

           requirement or anything about Bruen’s second step, opting instead to solely argue

           Bruen’s first step – asserting the Second Amendment and Bruen do not apply to the

           Sentencing Guidelines, JA036, and that Simmons did not enjoy any Second

           Amendment protections because he was not a law abiding citizen. JA0037.

                  Even assuming the Government has not abandoned any argument that it can

           satisfy the “distinctly similar” test of Bruen’s second prong, it will be unable to do

           so on appeal. Although Bruen did not expressly define “distinctly similar,” it

           indicated the standard is a stringent one. The only historical regulation Bruen

           identified as sufficiently similar to New York’s proper-cause requirement was an

           1871 Texas law forbidding “anyone from ‘carrying on or about his person . . . any

           pistol . . . unless he has reasonable grounds for fearing an unlawful attack on his

           person.’” Bruen, 142 S. Ct. at 2153, citing 1871 Tex. Gen. Laws § 1. This “reasonable

           grounds” requirement was essentially identical to New York courts’ interpretation

           of that state’s proper-cause standard. Id. at 2123-24 n.2. In a challenge to § 922(g)(3),

           then, a “distinctly similar” historical regulation would be one that either

           permanently denied or substantially limited drug users’/addicts’ access to firearms.

           But no such statutes appear in the 18th- or 19th-century record.




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                 What is today § 922(g)(3) traces its origins to 1968, when Congress passed

           Title I of the Omnibus Crime Control and Safe Streets Act of 1968 (the “Gun

           Control Act”), and added § 922 to 18 U.S.C. ch.44 - prohibiting any person “who

           is an unlawful user of or addicted to marihuana or any depressant or stimulant drug

           … or narcotic drug” from (d) being sold firearms or ammunition, (g) transporting

           or shipping firearms or ammunition, and (h) receiving firearms or ammunition.

           Pub. L. 90-618, Oct. 22, 1968, 82 Stat. 1213, 1217, 1200-1221. Later in 1986,

           Congress added firearm or ammunition possession to the list of unlawful acts

           prohibited by 18 U.S.C. § 922(g), including the possession of such items by “an

           unlawful user of or addicted to any controlled substance (as defined in section 102

           of the Controlled Substances Act (21 U.S.C. 802)).” Pub. L. 99-308, May 19, 1986,

           100 Stat. 449, 451-452 (the “Firearm Owners Protection Act”). See Harrison, ___

           F. Supp. 3d ___, 2023 WL 1771138, at *2. Like § 922(g)(1), therefore, § 922(g)(3)

           “is firmly rooted in the twentieth century,” United States v. Booker, 644 F.3d 12, 24

           (1st Cir. 2011) – having been enacted roughly 177 years after adoption of the

           Second Amendment. Separately, the U.S. Sentencing Guidelines did not come into

           existence until 1987, three years after Congress passed the Sentencing Reform Act.

                 The Supreme Court in Bruen said it would not even “address any of the 20th-

           century historical evidence brought to bear by respondents or their amici,” since

           evidence of that type “does not provide insight into the meaning of the Second


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           Amendment when it contradicts earlier evidence.” Bruen, 142 S. Ct. at 2154 n.28.

           Regulations of such recent vintage cannot establish a historical tradition unless they

           “confirm[]” earlier practice. Id. at 2137. Here, they simply do not. Section 922(g)(3)

           “bears little resemblance to laws in effect at the time the Second Amendment was

           ratified.” National Rifle Ass’s of America, Inc. v. Bureau of Alcohol, Tobacco, Firearms, and

           Explosives, 700 F.3d 185, 196 (5th Cir. 2012).

                  In 2007, Robert H. Churchill, a history professor at the University of

           Hartford, undertook “a full survey of printed session laws pertaining to gun

           regulation in the thirteen colonies and Vermont between 1607 and 1815.” Robert

           H. Churchill, Gun Regulation, the Police Power, and the Right to Keep Arms in Early

           America, 25 Law & Hist. Rev. 139, 143 n.11 (2007). Based on that survey, Churchill

           concluded that “at no time between 1607 and 1815 did the colonial or state

           governments of what would become the first fourteen states exercise a police power

           to restrict the ownership of guns by members of the body politic.” Id. at 142.

                  Carlton Larson, a professor at the University of California-Davis School of

           Law, has written in the context of disarming felons that, “[a]s far as [he] can

           determine, state laws prohibiting felons from possessing firearms or denying

           firearms licenses to felons date from the early part of the twentieth century.”

           Carlton F.W. Larson, Four Exceptions in Search of a Theory, 60 Hastings L.J. 1371, 1376

           (2009). Other scholars agree. Although it is difficult “to prove a negative, one can


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           with a good degree of confidence say that bans on convicts possessing firearms

           were unknown before World War I.” C. Kevin Marshall, Why Can’t Martha Stewart

           Have A Gun?, 32 Harv. J. L. & Pub. Pol’y 695, 708 (2009). It appears New York

           became the first state to enact such a ban, when in 1917 it made a felony conviction

           a basis for revoking a concealed-weapon permit. No other state passed a felon-

           disarmament law until 1923. Ibid.; see also Adam Winkler, Heller’s Catch-22, 56 UCLA

           L. Rev. 1551, 1563 (2009)(“Bans on ex-felons possessing firearms were first

           adopted in the 1920s and 1930s, almost a century and a half after the Founding.”);

           Nelson Lund, The Second Amendment, Heller, and Originalist Jurisprudence, 56 UCLA L.

           Rev. 1343, 1357 (2009)(similar); Lawrence Rosenthal, The Limits of Second Amendment

           Originalism and the Constitutional Case for Gun Control, 92 Wash. U. L. Rev. 1187, 1211

           (2015)(similar). Drug user/addict disarmaments obviously came much later in 1968

           and 1986.

                  That the Founding generation would have been reluctant, if not unwilling,

           to embrace permanent citizen disarmament as a mechanism for societal problem

           solving, in any context, is not surprising given the historical circumstances in which

           the Constitution and the Second Amendment were ratified. British General

           Thomas Gage’s unprecedented deception during the siege of Boston between April

           19, 1775 and March 17, 1776, was still very much “top of mind” with the founding

           generation when our Constitution was ratified in 1791. Recall that shortly after the


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           Battle of Lexington and Concord, Gage extended the offer to Boston colonists to

           disarm themselves under the promise of being allowed to leave the city. In response,

           Boston residents surrendered thousands of firearms and related weapons: 1778

           muskets, 634 pistols, 973 bayonets, and 38 blunderbusses. The number of firearms

           seized by one account was one for every 5.6 inhabitants of a town with a population

           of 15,000. Having disarmed the local populace, within five days Gage reneged on

           his promise to allow any exit from Boston, and kept the entire city captive for eleven

           months. Nothing like that had ever happened in the American Colonies before, nor

           has it happened since. See Stephen P. Halbrook, When the Redcoats Confiscated Guns,

           Washington Post (May 31, 1995);9 Stephen P. Halbrook, That Every Man Be Armed

           at 59 (University of New Mexico Press 1984); Stephen P. Halbrook, The Founders’

           Second Amendment at 2-3, 75-108 (Ivan R. Dee Publishers 2008).

                 As noted in Mr. Halbrook’s treatise:

                 Americans were reminded of Gage’s confiscation of arms some
                 fourteen years later, when adoption of the Bill of Rights was pending.
                 In 1789, Dr. David Ramsay published his History of the American
                 Revolution. A prominent federalist, Ramsay wrote this work while he
                 was a member of the Continental Congress in the 1780s. He also
                 served as a delegate to the South Carolina convention that ratified
                 the Constitution in 1788. James Madison, who served with Ramsay
                 in the Continental Congress, was aware of the book. Ramsay’s


           9
            Available online at
           https://www.washingtonpost.com/archive/opinions/1995/05/31/when-the-
           redcoats-confiscated-guns/e38d0810-af85-4949-8d93-3da746601e65/ (last viewed
           December 5, 2022)

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                  account of grievances leading to the Revolution was apropos,
                  particularly in regard to what became the Second Amendment.

           The Founders’ Second Amendment, at 85-86 (footnotes omitted).

                  There was no “historical tradition” of gun regulations “distinctly similar” to

           § 922(g)(3) at the time of the Founding. Bruen, 142 S. Ct. at 2130-31. The “Founders

           themselves could have adopted” laws like § 922(g)(3) to “confront” the “perceived

           societal problem” posed by drug users’/addicts’ access to guns. Id. at 2131. They

           declined to do so, and that inaction indicates § 922(g)(3) “[i]s unconstitutional,” id.,

           and with it U.S.S.G. § 2K2.1(a)(1)(B)(ii)(I).

                  D.     18 U.S.C. § 922(g)(3) is also unconstitutionally vague.

                  Simmons’ position is that he was permitted to mount a facial vagueness

           challenge under the Fifth Amendment Due Process Clause to 18 U.S.C. § 922(g)(3).

           See, e.g., United States v. Morales-Lopez, 2022 WL 2355920, *3-4 (D. Utah 2022), citing

           Johnson v. United States, 576 U.S. 591, 593-95 (2015). Simmons’ separate objection

           to his being treated as a “prohibited person” for sentencing purposes was what the

           Utah district court found: that § 922(g)(3)’s indeterminacy based upon the

           undefined term “unlawful user” or the lack of any precise scope of conduct

           associated with that term - irrespective of any triggering degree of intoxication or

           incapacity to safely possess a firearm - rendered it unconstitutionally vague by

           denying fair notice to defendants and inviting arbitrary enforcement by judges. See



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           Morales-Lopez at *3 (citing Johnson at 597). JA032. While Simmons acknowledges (as

           did Morales-Lopez) this Court’s contrary decision in United States v. Hasson, 26 F.4th

           610, 219-221 (4th Cir. 2022), he includes the issue to preserve it for further review

           or a future change in the law.

                 Simmons still maintains that § 922(g)(3) is unconstitutionally vague as applied

           to him with respect to the enhancement under U.S.S.G. § 2K2.1(a)(4)(B)(ii)(I). Even

           taking PSR ¶ 27 (based solely upon Simmons’ uncorroborated statement at the time

           of his January 3, 2023 arrest) as true, JA122, Simmons’ admissions did not establish

           that he was intoxicated or impaired when speaking with officers or when possessing

           or using any firearm, and more importantly – that he was consistently in such a state

           as to render him dangerous or otherwise incapable of safely possessing a firearm.

           Simmons relied upon Morales-Lopez’s further reasoning, at *8-12, in his objection

           and his memorandum submitted in advance of his final sentencing. JA032.

           Simmons’ position is that unconstitutional vagueness served as an alternate basis

           for not applying the higher BOL, and with it including the non-NFA firearms in

           his further Guideline calculations under U.S.S.G. § 2K2.1(b).

                 E.     The district court’s error materially impacted Simmons’
                        sentence.

                 The district court’s calculated Guideline range was over double what it would

           have been had defendant’s Bruen/§ 922(g)(3) objections been granted. The district



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           court varied downward almost two years to impose a 36-month sentence. Given

           the substance of the Court’s variance and ultimate sentence, it is not unreasonable

           to expect had the Court been presented with a lower Guideline range, it likely would

           have imposed a substantially lower variance sentence. Regardless, the Court was

           required to correctly calculate Simmons’ Sentencing Guidelines, United States v. Gall,

           128 S. Ct. 586, 596 (2007), before proceeding to apply the sentencing factors under

           18 U.S.C. § 3553(a). That it did not do so materially impacted Simmons’ sentence,

           and constituted reversable procedural error. Peugh v. United States, 569 U.S. 530, 537

           (2013).

                                            CONCLUSION

                 This Court should vacate Simmons’ sentence based upon the district court’s

           incorrect calculation of his Sentencing Guidelines. The district court’s error led to

           the imposition of a procedurally unreasonable sentence that this Court should

           vacate, and then remand Simmons’ case for resentencing.

                               REQUEST FOR ORAL ARGUMENT

                 This case presents an important question regarding the extent Bruen and

           Second Amendment protected conduct may be considered in federal sentencing

           practice generally, and in determining the appropriate Sentencing Guidelines for

           firearm offenses under U.S.S.G. § 2K2.1 specifically. The Court’s answer to that

           question will affect thousands of federal firearms defendants being sentenced under


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           U.S.S.G. § 2K2.1 in the Fourth Circuit each year. Simmons believes oral argument

           would certainly assist this Court in resolving this very important question.

                                                             Respectfully submitted,

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